          Case 3:19-cv-01914-SRU Document 54 Filed 05/27/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


  ESTATE OF KENNY RICHIE MARTY
  MITCHEL,                                                    No. 3:19-cv-1914 (SRU)
       Plaintiff,

          v.

  GAVIN SCOTT HAPGOOD,
       Defendant.

                       CONFERENCE MEMORANDUM AND ORDER

       On May 26, 2021, I held a status conference on the record with Steven Seligman,

attorney for the plaintiff; and James Justin Noonan, Thomas B. Watson, Michael C. Conroy and

Beck Fineman, attorneys for the defendant. The purpose of the call was to discuss the status of

the case after settlement negotiations failed to resolve the matter.

       Attorney Seligman began the call by explaining that a pending criminal action proceeding

in Anguilla will likely affect the progress of the case; due to various delays and a pending appeal,

that case is not likely to resolve in the near future. I asked whether the parties would therefore be

seeking a stay pending the resolution of the criminal matter. Attorney Noonan suggested that the

parties might be able to engage in limited written discovery prior to the resolution of the criminal

case, and the parties agreed that that would be more efficient than requesting a stay at this time.

       The parties agreed to exchange initial disclosures by June 25, 2021 and to subsequently

engage in written discovery. I indicated that the parties should feel free to reach out if any

discovery disputes or issues should arise.

       So ordered.

Dated at Bridgeport, Connecticut, this 27th day of May 2021.

                                                              /s/ STEFAN R. UNDERHILL
Case 3:19-cv-01914-SRU Document 54 Filed 05/27/21 Page 2 of 2




                                       Stefan R. Underhill
                                       United States District Judge




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